Case 9:22-cv-00027-GTS-DJS   Document 30   Filed 06/08/23   Page 1 of 5
Case 9:22-cv-00027-GTS-DJS   Document 30   Filed 06/08/23   Page 2 of 5
Case 9:22-cv-00027-GTS-DJS   Document 30   Filed 06/08/23   Page 3 of 5
Case 9:22-cv-00027-GTS-DJS   Document 30   Filed 06/08/23   Page 4 of 5
   Case 9:22-cv-00027-GTS-DJS      Document 30    Filed 06/08/23    Page 5 of 5




Dated: Canton, New York
     June 7, 2023
                                     ST. LAWRENCE COUN1Y




                                     David Forsythe, Chair
                                     St. Lawrence County Board of Legislators




       Syracuse
Dated: -----�       , New York
      June ___,
             8 2023

SO ORDERED:



Hon. Glenn T. Suddaby, ChiefUSDJ




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